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     Federal Defender
2    DAVID M. PORTER, Bar #127024
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5
6    Attorneys for Defendant
     OSIEL BETANCUR
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. S-08-212 TLN
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   OSIEL BETANCUR,                                      RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable TROY L. NUNLEY
16
17             Defendant, OSIEL BETANCUR by and through his attorney, Assistant Federal Defender
18   David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On June 9, 2009, this Court sentenced Mr. Betancur to a term of 48 months

25   imprisonment on each of Counts 22 and 23, to be served consecutively, for a total term of 96

26   months;

27              3.        His total offense level was 29, his criminal history category was III, and the

28   resulting guideline range was 96 months;

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Betancur was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Betancur’s total offense level has been reduced from 29 to 27, and his
5    amended guideline range is 87 to 96 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Betancur’s term of imprisonment to a term of 87 months.
8    Respectfully submitted,
9    Dated: November 13, 2014                           Dated: November 13, 2014
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           OSIEL BETANCUR
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Betancur is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
21   guideline range of 87 to 96 months.
22                        IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2009
23   is reduced to a term of 44 months imprisonment on Count 22, and 43 months imprisonment on
24   Count 23, to be served consecutively, for a total term of 87 months;
25             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
26   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
27   reduction in sentence, and shall serve certified copies of the amended judgment on the United
28   States Bureau of Prisons and the United States Probation Office.

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1              Unless otherwise ordered, Mr. Betancur shall report to the United States Probation Office
2    within seventy-two hours after his release.
3    Dated: November 14, 2014
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7
                                                    Troy L. Nunley
8                                                   United States District Judge

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     Stipulation and Order Re: Sentence Reduction              3
